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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )       4:05CR3017-02
                         Plaintiff,        )
                                           )
                             vs.           )
                                           )
GARY MUELLER,                              )       ORDER
                                           )
                         Defendant.        )

       The government has moved to dismiss the indictment filed against Gary Mueller, filing

#51. Accordingly, said indictment against Gary Mueller is dismissed without prejudice.

       IT IS SO ORDERED this 28th day of March, 2007.

                                           BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
